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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

United States of America



      v.                                               Docket No. 1:21-CR-35-RC-7
                                                       United States v. Sabol et al


Ronald Colton McAbee

                                  Notice of Appearance

Benjamin Schiffelbein enters his appearance as counsel of record for Mr. Ronald Colton
McAbee on behalf of the Federal Public Defender for the Western District of Virginia.

Respectfully submitted,

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